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Meta MIL #2, Exhibit A
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Meta MIL #2, Exhibit B
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Meta MIL #2, Exhibit C
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Meta MIL #2, Exhibit D
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Meta MIL #2, Exhibit F
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Meta MIL #2, Exhibit H
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Meta MIL #2, Exhibit K
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